         Case 3:21-cv-06118-JD Document 109 Filed 03/15/23 Page 1 of 5



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 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11
12   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
13                                                PLAINTIFFS’ ADMINISTRATIVE
                                Plaintiff,        MOTION FOR LEAVE TO FILE A
14                                                NOTICE OF SUPPLEMENTAL
                   v.
                                                  EVIDENCE IN OPPOSITION TO
15                                                DEFENDANTS’ MOTION TO
     DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION, and DOMINIC WILLIAMS,            DISQUALIFY
16
17                              Defendants.

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        PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                             EVIDENCE – No. 3:21-cv-06118
            Case 3:21-cv-06118-JD Document 109 Filed 03/15/23 Page 2 of 5




 1            Lead Plaintiff Henry Rodriguez and named plaintiff Daniel Valenti, on behalf of themselves
 2   and all others similarly situated, respectfully submit this Motion for Leave to File a Notice of
 3   Supplemental Evidence in Opposition to Defendants’ Motion to Disqualify Freedman Normand
 4   Friedland LLP (“FNF”). (Dkt. No. 72.).
 5            As this Court is aware, Defendants’ motion to disqualify FNF relied almost exclusively on
 6   videos published by “CryptoLeaks,” which purported to show former firm lawyer Kyle Roche
 7   making certain statements. FNF maintains these videos are irrelevant given Roche’s departure from
 8   the firm many months ago. Defendants nevertheless continue to cite these videos as grounds for
 9   disqualifying FNF. In light of Defendants’ position, FNF seeks leave to file an expert report it just
10   received, and which explains that many of the videos on which Defendants rely are the product of
11   manipulation, are inauthentic, and contain indicators consistent with the use of deepfake
12   technology.1
13            Specifically, Plaintiffs seek permission to submit the Expert Report of David Kalat dated
14   March 10, 2023 (the “Kalat Report”), attached as Exhibit 1 to the Declaration of Edward Normand.
15            The Court may consider additional materials submitted in connection with a pending motion
16   under its inherent powers and Local Civil Rule 7-3(d). See, e.g., Quintana v. Claire’s Stores, Inc.,
17   2013 WL 1736671, at *4 (N.D. Cal. Apr. 22, 2013) (finding “good cause to allow Defendants to
18   submit the additional evidence”); FTC – Forward Threat Control, LLC v. Dominion Harbor Enters.,
19   LLC, 2020 WL 5545156, at *4 (N.D. Cal. Sept. 16, 2020) (granting administrative motion for leave
20   “to file supplemental evidence obtained through discovery”); cf. Music Grp. Macao Commercial
21   Offshore Ltd. v. Foote, 2015 WL 3882448, at *9 (N.D. Cal. June 23, 2015) (“A court may allow a
22   party to supplement the summary judgment record after briefing was completed upon a showing of
23   good cause.”). In determining whether to consider such materials, courts frequently apply a “good
24   cause” standard that takes into account the movant’s reasonable diligence. See, e.g., FTC, 2020 WL
25   5545156, at *4 (granting motion where movant “was reasonably diligent in filing its administrative
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28       https://en.wikipedia.org/wiki/Deepfake
                                            1
           PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                                EVIDENCE – No. 3:21-cv-06118
          Case 3:21-cv-06118-JD Document 109 Filed 03/15/23 Page 3 of 5




 1   motion to bring this new evidence to the Court’s attention”). Plaintiffs here have good cause for the
 2   Court to consider the Kalat Report, for three main reasons.
 3          First, Plaintiffs did not obtain, and could not have obtained, the Kalat Report until two weeks
 4   after the parties’ supplemental briefs in this action were filed. (Dkt. No. 86.) The Kalat Report is
 5   dated March 10, 2023, and was served on FNF by Kyle Roche in Roche Freedman LLP v. Cyrulnik,
 6   No. 1:21-cv-1746 (S.D.N.Y.), a partnership dispute to which Roche and FNF are parties and that is
 7   in expert discovery. FNF has promptly brought the Kalat Report to the Court’s attention, filing this
 8   motion within three business days of receiving it.
 9          Second, the Kalat Report undercuts Defendants’ theory for disqualifying FNF. To be clear,
10   Plaintiffs do not believe Roche’s statements from the “CryptoLeaks” videos have any bearing on
11   this action (and thus never sought any expert analysis of the videos). Roche is no longer part of this
12   case or this firm. He has no say in the firm’s governance, no insight into its management, and no
13   ability to influence the firm at all. As the Court noted at the last hearing, Roche’s comments cannot
14   be attributed to the firm’s current lawyers and the Court is “not worried about” Roche’s statements.
15   (Dkt. No. 91 at 27:11-28:1.) Nonetheless, Defendants have continued to rely on those statements,
16   arguing that this case is unique, given Roche’s specific mention of this case in the videos. (Id. at
17   7:6-20.)
18          The Kalat Report, however, explains that the critical video segments—including the snippet
19   where Roche appears to indicate this action was filed to benefit Ava Labs—“exhibit signs of
20   repeated compression, tampering, and extensive manipulation,” and contain “artifacts” that are
21   “consistent with the use of deepfake technology,” including Roche’s blurred face and tell-tale breaks
22   in the “wave form” of the audio. (Ex. A ¶ 62.) The Kalat Report thus concludes that those video
23   segments “cannot be accepted as reliable or authentic documents of what” Roche stated. (Id.) The
24   Kalat Report’s conclusions are supported by other evidence that indicates Defendants had motive
25   and opportunity to use deepfake technology to alter the videos. Specifically, (i) Defendants went to
26   extreme lengths to obtain secretly recorded footage of Roche (Dkt. No. 71 at 8-10), a fact their
27   counsel have assiduously declined to deny, both before the Court and in meeting and conferring
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        PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                             EVIDENCE – No. 3:21-cv-06118
          Case 3:21-cv-06118-JD Document 109 Filed 03/15/23 Page 4 of 5




 1   with Plaintiffs’ counsel; (ii) Defendants must have incurred significant costs in obtaining that
 2   footage (including fees payable to their “conflict management” specialist) and it would be far more
 3   rational for Defendants to incur those costs if they knew they could get their desired result with
 4   deepfake manipulation; (iii) Defendants took seven months to release the recordings (likely to afford
 5   them time to manipulate the footage); and (iv) Defendants have only released highly-edited and
 6   short video clips, and have never released a full, unedited, video. With the authenticity of the clips
 7   brought into question, FNF’s failure to find any corroborative evidence of the statements makes
 8   sense (Dkt. No. 101 at 11), and the Court should hesitate providing the clips with significant
 9   evidentiary value.
10          Third, the Kalat Report bears on the related issue that Defendants’ motion raises concerning
11   any purported appearance that FNF is litigating this case for any collateral purpose. Plaintiffs have
12   explained in detail that FNF had no such collateral purpose in pursuing the lawsuit, has no such
13   purpose in continuing to pursue the lawsuit, and has not identified any evidence that anyone at the
14   firm has ever brought or pursued any lawsuit for any such collateral purpose. (Dkt. No. 76-1 ¶¶ 3-
15   4, 6; Dkt. No. 101 at 4-5.) The Kalat Report further belies the notion that any reasonable third
16   party—let alone any absent class members, as Defendants have suggested—would conclude that
17   FNF has pursued or is pursuing the lawsuit for a collateral purpose like benefitting Ava Labs. The
18   extent to which the analysis of “deepfake” technology will arise as an evidentiary issue in the federal
19   courts over the next few years is a topic for another day, but the Court can take judicial notice of the
20   national reporting on the deeply troubling nature of that technology. See, e.g., Adam Satariano &
21   Paul Mozar, The People Onscreen Are Fake. The Disinformation Is Real, THE NEW YORK TIMES
22   (Feb. 7, 2023), available at https://www.nytimes.com/2023/02/07/technology/artificial-intelligence-
23   training-deepfake.html; Will Wills, Deep Fakes: Deeply Disturbing, CULTURESONAR (Oct. 5, 2019),
24   available at https://www.culturesonar.com/deep-fakes-deeply-disturbing/; Madeleine Kearns,
25   Deepfakes Are Deeply Worrying, NATIONAL REVIEW (Aug. 27, 2019), available at
26   https://www.nationalreview.com/corner/deepfakes-deeply-worrying/. Given the findings of the
27   Kalat Report, coupled with the national publication of such analyses (and there are many, many
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        PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                             EVIDENCE – No. 3:21-cv-06118
          Case 3:21-cv-06118-JD Document 109 Filed 03/15/23 Page 5 of 5




 1   more), the notion that the facts and evidence in this case now leave the “appearance” to a reasonable
 2   person that FNF will be acting improperly—as opposed to having had a former lawyer who may
 3   well have been the intended target of a premeditated effort to undercut an existentially problematic
 4   and well-founded lawsuit against an extremely well-funded set of Defendants—is, at best, wishful
 5   thinking on Defendants’ part.
 6          Accordingly, to the extent that the Court regards the CryptoLeaks videos as relevant to its
 7   analysis (and it should not), Plaintiffs respectfully request the Court properly discount the reliability
 8   of those videos in light of the Kalat Report.
 9                                              CONCLUSION
10          Plaintiffs respectfully submit, for the foregoing reasons, that the Court grant Plaintiffs leave
11   to file the Kalat Report in further opposition to Defendants’ motion to disqualify.
12
13   Dated: March 15, 2023                           Respectfully Submitted,
14                                                   FREEDMAN NORMAND FRIEDLAND LLP
15                                                   /s/ Edward Normand
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        PLAINTIFFS’ ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                             EVIDENCE – No. 3:21-cv-06118
